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i. ClRJDlST./DIV. CODE 2. PERSON REPRESENTED v

TNW Lyons, Stepha nie

 

VOUCHER NUMBER

 

 

3. MAG. DKT..FDEF. NUMBER 4. DIST. DKTJDEF. NUMBER

2:05-020250-003 /

5. APPEALS DKTJDEF. NUMBER 6. OTHER DKT. NUMBER

 

v. :N cAsF,/MATrF.R or
U.S. v. Lyons

(Caae Nnme)

a. FAYMENT CATEG<)R\'
Felony

 

9. TYPE PEasON REPRESENTH)
Adult Defendant

10. REPRESENTAT|ON TYPE
(S¢e lmlructioru)

Criminai Case

 

 

Il. OF`FENSE(S) CH ARGED (Cit'e U.S. Code. Title & Sectinn]

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i) 18 1343.1~` -- FRAUD BY WIRE, RADIO, OR TELEVISION

 

11. A']TORNEY'S NAME (Firsi Naxnc, M.l., Lut Name. including any sul'l'u)
AND MAlLlNG ADDRESS

ANDERSON, WILLIAM
369 N MAIN ST
MEMPHiS TN 33103

Telephone N\tmher': (901) 527“6521
14. NAME AND MAILiNG ADDRESS OF LAW FiRM fonly provide pcrinltructinnl)

 

 

 

13. C()URT ORDER .--

ix 0 Appuinting Cuunsel m C Co-Co\ms¢l
ij F Subs l"or Federal l)ei`ender g R Suds For Retained A
[i Y Standlly Counsel

 

Y
ij l' Subs For Panel.¢\ttomey
. l(, »‘/
Pnor Attnrney's Name: i')/
Appm'lltlnentDate: _,,_,_,,_ <'" 3

/
i:i Be¢ause the above-named person represented hat testified under oath or ha's/‘ ._ _
otherwile satisfied this court that he or she (l)il l°lnanclaily unable to employ cum tin`d/,-,`

(Z) does nol wish to waive counsel, and becaus- ereltl ofiusli:e so requir¢. th by c fp il
attorn . » ~ - -- . 1 ‘ -- ' - » 1 o represenltl\is person in this ‘ ']\ C//\ ¢`/"/'
or 49
m Olher (S

SilnIh-lr¢ ~"" residing .ludiciai O lcer or By Order of the Court

OR/D'i/f>(i(`i€

Date of Order Nunc Pro Tunc Date
Repayment or partial repayment ordered from the person represented for thil service at

   
 
   

   

 

 

V"e¥

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
 

 

 

 

 

 

 

 

 

 

representation? m YES l:] NO li' yes, give details on additional sheetl.
[ swear or ali`lrm the truth or correctness of the above statements.

time ofappnintment. [] YES l:] NO
CATEGORIES (Am¢h itemization onerous with d=¢¢.} C*ljgl§l“€o ARiogGiiT WD§UH§TT§?)H %Wi§o‘i)n ARIE>WIMAL
CLAIMED HOURS AMOUN'I'

ts. a. Arraignment and.'or Plea

b. Baii and Detention Hearings

c. Motion Hearings "
:l d. Tril
C e. Sentencing Hearings
g f. Revocation Hearings
f g. Appeals Court

h. Other {Specity on additional sheets)

(Rate per hour = 5 ) T()TALS:
16. a. Interviews and Conferences
g b. Ohtaining and reviewing records
0 c. Legal research and brief writing
; d. Travel time
3 e. Investigative and Other work (Spe:it'y on additional sheets)
g (Rate per hour = 5 ) TOTALS:
l'.'. Travel Elpense§ (iodging. parking, meals. mileage, ete.)
18. Otiler Expenses (other than expert, transcripts, ete.)
19. CERTiFIC'ATlON OF ATTORNEW'PAYEE FOR THE PERlOD 0 F SERV|CE 20. APPO[NTMENT TERMINAT|ON DATE 2|. CASE DISPO SlTlON
FROM 10 ]l" OTHER TI*IAN CASE COMFLET|ON
22. C LAIM STATUS i:i Final Paymem i:i lnlerlm l'aymenr Numher [i Suppl¢emenld Paymenl
Have you previously applied to the court l'm- compenlation andi‘or remlmhunement for this tase'.’ [i YES ll`ye¢. were you paid'l |:i YES ij NO

Other than i'rom the rourt. have you, or toyour knowledge has anyone el:e, received payment (compensation or anything or value) from any other source in connection with this

 

Sig'nature ol' Mtomey:

     
  

23. iN COURT COMP. 24. OU'|' OF COURT COMP.

  
     
  

 

      

x du

16. OTHER EXFENSES 1'.'. 'I`OTAL)\MT.APFR!CERT

 

28. SIGNATURE OF 'i`l'iE. PRESID|NG JUD|C[AL OFF]CER

DATE 18a. JUDGEI MAG. JUDGE CODE

 

29. [N COURT COMP. 30. OUT OF COURT COMP.

 

 

31. TRAVEL. E.XPE.NSES

32. OTHER EXPENSES _\J. TOT»\LAMT.APFROVED

 

approved ill Esress ul'the statutory threshold gmuun ,

 

34. SIGNATURE OF CHIEF JUDGE, COURT OF APP EALS (OR DELEGATE) Payment

DATE 34a. JUDGECODE

 

 

 

 

Thls document entered on the docket sheet |n compliance
with aule 55 and/or ez(b) FHch on ’g/O§

  
   

 

 

Notice of Distribution

This notice confirms a copy of thc document docketed as number 48 in
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Camiilc Rccsc McMuilcn
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Mcmphis7 TN 38103

Wiiliam C. Andcrson
ANDERSON LAW FIRM
142 North Third St.
Mcmphis7 TN 38103

Honorablc J on McCaila
US DISTRICT COURT

